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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

UNITED STATES OF AMERICA                   )
                                           )
                 v.                        )      No. 08 CR 192
                                           )
HANJUAN JIN                                )      Hon. Ruben Castillo


  GOVERNMENT'S CONSOLIDATED MOTIONS IN LIMINE SEEKING A PRE-TRIAL
    RULING ON THE ADMISSION AND EXCLUSION OF CERTAIN EVIDENCE




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I.       INTRODUCTION

         The United States of America, by its attorney, Patrick J. Fitzgerald, United States Attorney

for the Northern District of Illinois, respectfully submits these consolidated motions in limine

seeking a pre-trial ruling on the admission and exclusion of certain evidence and states as follows:

         The government seeks to admit evidence of flight, namely, the March 5, 2007 transfer of a

large sum of money to China, to show JIN’s consciousness of guilt of the charged offenses. The

government also seeks to admit evidence of a misrepresentation JIN made to an officer of the United

States Customs and Border Protection (“CBP”) regarding the amount of currency she was carrying

when attempting to travel to China. This evidence is admissible to show JIN’s knowledge of and

intent to commit the charged crimes. The government seeks to admit evidence of documents

containing similar technical diagrams JIN’s intent. Lastly, the government seeks to exclude

evidence or argument by the defendant regarding misconduct committed by other Company A

employees related to the protection of Company A’s trade secrets because such evidence lacks

probative value to the issues in the case.

II.      FACTUAL BACKGROUND

         A.     JIN’s Initial Employment With Company A

         Starting in or around 1998, defendant Hanjuan Jin (“JIN”) worked as a software engineer

for Company A, a Chicago-based, global telecommunications company. In connection with her

employment, JIN received regular training regarding the protection of proprietary information

belonging to Company A.

         In or about February 2006 through approximately February 2007, JIN took a medical leave

of absence from Company A, during which time she received no work assignments from Company


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A.

       B.      JIN’s Work For Sun Kaisens

       From in or about June 2006, until in or about December 2006, while on sick leave from

Company A, defendant JIN discussed, negotiated and planned to accept employment in China with

Sun Kaisens, a telecommunications company based in China. Evidence at trial will show that, in

late 2006, JIN performed work for Sun Kaisens, and, at that time, the company was involved in the

development of telecommunications technology and products for the Chinese military. The

evidence will show that JIN consulted with Sun Kaisens representatives on projects involving work

being done by the company for the Chinese military.

       Law enforcement also recovered Chinese language emails from JIN’s personal laptop seized

at the airport in Chicago on February 28, 2007, between JIN and a Chief Qi, who works for Sun

Kaisens during which JIN and Qi discussed JIN’s future employment with Sun Kaisens in China

including details about her salary and possible start date.

       C.      JIN’s Return to Company A In February 2007

       On February 23, 2007, just over one week following a return from a trip to China, JIN

advised Company A that she was ready to end her medical leave and return to full-time work with

Company A. JIN did not advise Company A that she had planned to accept employment with Sun

Kaisens.

       On February 24, 2007, defendant JIN purchased a one-way ticket to China for a flight

scheduled to leave on February 28, 2007. On the morning of February 26, 2007, defendant JIN

returned to Company A, purportedly to resume full-time work. JIN was given no assignments on that

day. Between approximately 9:00 a.m. and 2:00 p.m. that day, defendant JIN downloaded over 200


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technical documents belonging to Company A from Company A’s secure internal computer

network.

       Later, at approximately 9:00 p.m. that night, JIN returned to her Company A office building

and downloaded technical documents belonging to Company A from Company A’s secure internal

computer network, and removed numerous documents and other materials from the offices of

Company A.

       On February 27, 2007, at approximately 12:15 p.m., JIN informed her manager at Company

A by email that she was resigning from Company A. Later that same day, at approximately 3 p.m.,

a withdrawal of $20,000 was made from JIN’s bank account.1 That same night, at approximately

10:00 p.m., JIN returned to her Company A office building and downloaded numerous technical

documents belonging to Company A from Company A’s secure internal computer network.

       D.      JIN Stopped At the Airport

       On February 28, 2007, at approximately 12:00 p.m., JIN traveled to O’Hare International

Airport in Chicago, Illinois, for the purpose of departing to China. During a search of her purse and

other carry-on items, CBP agents found JIN had over $30,000 in United States Currency, several

documents apparently belonging to Company A labeled as proprietary and confidential, several

Chinese military documents related to telecommunications technology, and various items of

electronic media. A further search showed the electronic media JIN carried contained over 1,000

documents belonging to Company A containing technical information related to telecommunications

technology. Many of these documents contained valuable confidential and proprietary information



       1
        As will be further described below, on or about March 5, 2007, $115,000 was transferred
from this same account to a bank account in China.

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belonging to Company A including three specific documents the evidence will show are trade

secrets of Company A.

       In addition to having documents belonging to Company A in her possession, agents found

that JIN possessed documents related to Sun Kaisens’s work for the PRC military as well as

documents authored by organizations within the PRC military.

       On March 1, 2007, JIN returned to the Chicago O’Hare airport and attempted to board

another flight to China. Again, JIN was stopped by CBP agents. Later that day, JIN consented to

a search of her residence. During the search, agents recovered additional documents belonging to

Company A.

       E.      Jin’s Statements to Law Enforcement

               1.     February 28, 2007

       Shortly after Jin was stopped at O’Hare Airport on February 28, 2007, she was interviewed

by law enforcement. Jin stated she took sick leave from Company A in May 2006 and traveled to

China from November 2006 to February 2007. JIN told law enforcement that she planned to travel

to China for an undetermined length of time.

       Jin was asked about the Company A documents found in her possession at the airport and

she stated that she was taking the documents to China in order for her to study. She stated further

that she had been off work for such a long time, she wanted to read the documents and refresh her

knowledge.

       Agents then asked Jin about certain documents marked as “Classified” dealing with the

Chinese military found in her laptop computer case. Initially, Jin stated that she downloaded these

documents from the internet, but later admitted that she was given the documents by Genghan Liu,


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who, she explained, was a computer software engineer that lives and works in China. Jin stated that

Liu worked for or owned a company in China. Jin stated that she first met Liu in 2004 and has most

recently met with Liu in Beijing in November 2006.

               2.      March 1, 2007 Interview

       The next day, on March 1, 2007, Jin was stopped again at O’Hare Airport and questioned

as she attempted to board a flight for China. Jin was again questioned about the Company A

documents recovered the day before and Jin stated that she was taking these documents to China in

order to refresh her memory on this material and to study. Jin also stated that because she was on

medical leave for the last year, she wanted to read this material in order to prepare herself for her

next job.2

       Jin was then asked about certain documents she possessed that were connected to the

Chinese government. Jin stated that she was asked by Liu to review the documents in order to

determine if she could assist with the related projects. Jin stated that Liu gave her these documents

in November 2006. When asked about a Sun Kaisens document, Jin stated that the document was

created by a privately-owned Chinese company called Sun Kaisens. Jin stated that Sun Kaisens is

only located in Beijing, China, and focuses on computers, telecommunications and information

technology. Jin stated that one particular document she was asked about was given to her in

December 2006 by a an engineer working for Sun Kaisens. Jin noted that her name was listed in



       2
        As explained below, defendant had been negotiating employment via email with “Chief
Qi” at Sun Kaisens in China and defendant anticipated being offered a job with Sun Kaisens
when she arrived in China. Also, based on a Sun Kaisens company directory and email lists
recovered from Jin on February 28, 2007, Liu and “Chief Qi” (Shiqing Qi) worked for Sun
Kaisens. The email address listed on the company directory matches that used by Qi to
communicate with defendant at her Yahoo! email address.

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this document as a project chief director, but she stated that she was a director of guidance for this

particular project. Jin stated that she had provided guidance on similar projects for Sun Kaisens in

the past. Jin further stated that she had provided oral guidance on this document to people at Sun

Kaisens and was later given a copy of the document.

                3.     March 2, 2007 Interview

        On March 2, 2007, Jin was interviewed again and stated that she was introduced to Gengshan

Liu at the end of April 2005 in Beijing, China. Jin met Liu for a second time in November 2005 and

during this meeting, Liu gave Jin his phone number and instructed her to use the number while she

was in China so that they could arrange meetings. Jin stated this second meeting was like an

interview and that she discussed her areas of expertise, technical knowledge, overall work

experience, and her work in software development. Jin stated that the conversation was focused on

technical details.

        Jin stated that, between November 2006 and February 2007, a third meeting took place in

Beijing, China. At this time, Jin stated that Liu gave Jin the documents connected to the Chinese

government. Jin stated that Liu requested that Jin review the documents in order to determine the

amount of assistance she would be able to provide on this project. Jin stated that the outcome of

her work with this project could result in a job for her at Sun Kaisens. Jin stated that she planned

to meet with Liu when she returned to China on February 28, 2007. Jin also stated that on this return

trip she expected to be offered employment at Sun Kaisens.

III.    MOTION TO ADMIT EVIDENCE OF MONEY TRANSFER

        A.      March 5, 2007 Money Transfer to China

        As outlined above, on February 28, 2007, JIN attempted to leave the United States with a


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wealth of valuable, proprietary information belonging to her former employer, but was stopped by

law enforcement. The very next day, on March 1, 2007, JIN again attempted to leave the United

States for China yet again. That day, she arrived at O’Hare International Airport with a one-way

ticket on a flight to Beijing, China that she had reserved the day before. JIN again attempted to

board the plane. Once in the jetway, JIN was again approached by a CBP officer, and ultimately

agreed to be interviewed by the FBI and did not get on the flight to China.

       Merely five days after she was first stopped, and only three days after her last interview with

the FBI, on March 5, 2007, $115,000 was transferred to a Chinese bank from a money market

savings account JIN held jointly with her husband at Chase bank. This amount represented the bulk

of the funds in this savings account, as the balance in the account as of February 28, 2007 was

$122,088. According to Chase records, the money was transferred to the China Merchants Bank

in China.3

       The government intends to elicit testimony and present bank records related to the money

transfer as evidence of JIN’s intent to commit the charged conduct.

       B.       Applicable Law

       Evidence of flight may be admissible to show consciousness of guilt, as well as guilt itself.

United States v. Solomon, 688 F.2d 1171, 1176 (7th Cir.1982); United States v. Jackson, 572 F.2d

636, 639 (7th Cir.1978). The probative value of flight as circumstantial evidence of guilt depends

upon the degree of confidence with which four inferences can be drawn: (1) from the defendant’s

behavior to flight; (2) from flight to consciousness of guilt; (3) from consciousness of guilt to

consciousness of guilt concerning the crime charged; and (4) from consciousness of guilt concerning


       3
           China Merchants Bank has no presence in the United States.

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the crime charged to actual guilt of the crime charged. United States v. Skoczen, 405 F.3d 537, 548

(7th Cir. 2005) (citing United States v. Levine, 5 F.3d 1100, 1107 (7th Cir.1993)).

       C.      Argument

       There is ample evidence to support the inference that JIN transferred money because she

intended to flee to China as soon as possible because she knew she was guilty of the charged

conduct. JIN attempted to leave the United States for China the very next day after CBP agents

found: (1) that she lied on her money declaration form; (2) that she possessed hundreds of Company

A confidential and proprietary documents; (3) and that she also possessed various Chinese military-

related documents. The temporal proximity between when JIN was first stopped at O’Hare airport

and when funds were transferred is so close that it is appropriate to infer that the transfer of the

money was, in fact, part of her plan to flee to avoid prosecution. From all of these facts, it is

reasonable to infer that JIN transferred a large sum of money – in fact, the bulk of her and her

husband’s joint savings account – to China, and that JIN was attempting to flee to China before she

could be arrested for the crimes she knew she had committed.

       Regarding the third and fourth prongs outlined above, it is reasonable to infer from the

money transfer that JIN knew that she was guilty of possessing trade secrets and that she was, in

fact, guilty of the possession of trade secrets. JIN knew she had hundreds of Company A’s

documents in her possession when the CBP agents stopped her and searched her bags. JIN knew

she had downloaded hundreds of documents herself from Company A’s computer system and also

removed paper documents from Company A’s offices merely the day before her first airport

encounter. It is also likely that JIN knew that Company A would have records of the documents she

had downloaded and would eventually become aware of the extent of the materials she took from


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the company in violation of Company A’s policies. JIN also knew that CBP had made copies of the

Chinese military documents she had in her possession on February 28, 2007. JIN knew that law

enforcement was likely to soon figure out that her possession of the Chinese military documents was

connected to her possession of Company A documents. For these reasons, she clearly planned to

flee to China to avoid punishment for her misappropriation of the trade secrets and the money

transfer was a part of her plan.

IV.    MOTION TO ADMIT EVIDENCE OF JIN’s MISREPRESENTATIONS TO CBP

       A.        JIN’s Misrepresentations to CBP about the Currency She Was Carrying

       On February 28, 2007, as JIN walked down the jet-way toward the aircraft bound for China,

a CBP agent approached JIN pursuant to a routine, random outbound inspection of departing

international passengers. The agent introduced himself to JIN and explained the nature of the

inspection. He requested her travel documents, and she complied. After explaining the currency

reporting requirements to JIN, the agent inquired about how much currency she had. JIN responded

that she had $10,000 United States dollars. The agent next provided JIN with a United States

Customs declaration form (the “Form 503”).4 The agent observed as JIN read the form, then he

asked her if she understood it, to which she replied that she did. In the section of the form where

the passenger is to indicate how much currency she is declaring, JIN wrote “$10,000,” then drew

a line threw that number, and printed “11,000,” followed by her initials. JIN signed the Form 503

at the bottom.

       After JIN gave the agent the completed Form 503, the agent gave her another customs form



       4
          This form is referred to as the “Form 503.” The agent offered JIN the choice of either
an English version or a Chinese version of the Form 503, and she chose the Chinese version.

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written in English titled, “Report of International Transportation of Currency or Monetary

Instruments” (the “FinCen Form”). The agent asked JIN to complete this form. On this form, JIN

again declared that she had $11,000 in currency. JIN also signed and dated this form. Just above

the signature line, the form includes the following declaration: “[u]nder penalties of perjury, I

declare that I have examined this report, and to the best of my knowledge and belief, it is true,

correct and complete.” After JIN completed the FinCen form, the agent requested that JIN show him

the currency she had. The agent observed JIN remove two envelopes from a laptop bag she was

carrying, each of which contained $5,000. Then JIN removed additional cash from her purse, which

totaled approximately $1,252. When asked if this was all the currency she was carrying, JIN replied

that it was. The agent then inquired about her carry-on items, and JIN confirmed that three items

belonged to her: her purse, a black laptop bag, and a carry-on bag. The agent then advised JIN that

he was going to search these items. The agent first searched the area of the laptop bag from which

JIN had earlier retrieved the two envelopes containing cash. The agent found four additional similar

envelopes, each containing $5,000 in United States Currency. In total, JIN was found to have

approximately $31,252 in cash in her possession. Evidence that JIN misrepresented the amount of

money she was carrying is admissible to show her preparation, plan, and intent to commit the

charged crimes.

       B.      JIN’s Misrepresentations to CBP are Admissible As Evidence of The Charged
               Conduct.

               1.      Applicable Law

       Federal Rule of Evidence 401 provides that relevant evidence is evidence having any

tendency to make the existence of any fact that is of consequence to the determination of the action

more probable or less probable than it would be without the evidence. Here, evidence of JIN’s

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misrepresentations to CBP are relevant to show JIN possessed the trade secret documents she was

carrying without authorization and with the intent to benefit someone other than the owner of the

trade secrets.

                 2.    Argument

        JIN’s misrepresentations to CBP about the amount of cash she was carrying is admissible

as evidence of her intent to commit the charged conduct. At the time she was stopped by CBP, JIN

knew she was carrying thousands of confidential proprietary documents belonging to Company A.

As she acknowledged in her statements to law enforcement, JIN had taken these documents to

benefit herself. As outlined above, she had taken the documents so that she could refresh her

memory in preparation for her new job. The evidence shows that she intended to accept

employment at Sun Kaisens in China. Therefore, in order for her to derive the benefit she needed

from the documents, she needed to take them with her to China. Recognizing that she needed to

successfully transport the Company A documents to China in order to derive benefit from them, she

lied to CBP about the cash she was carrying so as to avoid the additional scrutiny she might receive

had she admitted to the more than $30,000 of cash she was transporting.

        C.       Alternatively, JIN’s Misrepresentations to CBP Are Admissible Pursuant to
                 Rule 404(b).

                 1.    Applicable Law

        Federal Rule of Evidence 404(b) permits evidence of other crimes, wrongs, or acts to be

admitted to establish proof of motive, opportunity, intent, preparation, plan, knowledge, identity,

or absence of mistake or accident. See FRE 404(b); United States v. Ross, 510 F.3d 702, 713 (7th

Cir. 2007). Admissibility under 404(b) is governed by a four-part test: (1) the evidence must relate

to a matter other than the propensity to commit the charged offense; (2) the evidence must be similar

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enough and close enough in time to a matter in issue; (3) there must be sufficient evidence that the

other acts were committed; and (4) the probative value of the evidence must not be substantially

outweighed by any unfair prejudice. United States v. Burke, 425 F.3d 400, 410 (7th Cir. 2005).

       Rule 404(b) provides a non-exhaustive list of purposes for which evidence of other crimes

is admissible:

       Evidence of other crimes, wrongs, or acts is not admissible to prove the character of a person
       in order to show action in conformity therewith. It may, however, be admissible for other
       purposes, such as proof of motive, opportunity, intent, preparation, plan, knowledge,
       identity, or absence of mistake or accident . . . .

Fed. R. Evid. 404(b). The Seventh Circuit has repeatedly instructed that, under Rule 404(b),

evidence of other bad acts is admissible so long as the evidence is not introduced to show the

defendant’s bad character. United States v. Taylor, 522 F.3d 731, 734-36 (7th Cir. 2008) (among

other examples, prior drug sales admissible to explain coded term); United States v. Conner, 583

F.3d 1011, 1021-22 (7th Cir. 2009) (prior drug sales admissible to show intent); United States v.

Edwards, 581 F.3d 604, 609 (7th Cir. 2009) (prior drug sales admissible to show possession); United

States v. Canady, 578 F.3d 665, 671-72 (7th Cir. 2009) (prior criminal uses of firearm admissible

to show possession of the same firearm); United States v. Cox, 577 F.3d 833, 838-39 (7th Cir. 2009)

(credit card fraud used to rent hotel rooms admissible to show defendant could pay for prostitution

parties and to rebut defense that defendant was not wealthy); United States v. Ellis, 548 F.3d 539,

544 (7th Cir. 2008) (prior tax violations admissible to show wilfulness and to rebut forgetfulness

defense).

       In explaining the scope of Rule 404(b), the Seventh Circuit has emphasized that Rule

404(b)’s purpose “is simply to keep from the jury evidence that the defendant is prone to commit

crimes or is otherwise a bad person . . . . No other use of prior crimes or other bad acts is forbidden

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by the rule, and the draftsmen did not try to list every possible other use.” Taylor, 522 F.3d at 735-

36. Thus, Rule 404(b) permits evidence of other crimes to be introduced not only for the explicitly-

listed purposes, but also for any other relevant purpose, such as “the need to avoid confusing the

jury.” Id. at 736. The examples provided above illustrate the breadth of the purposes for which the

government may offer evidence under Rule 404(b).

       Furthermore, although the Seventh Circuit has now criticized the “inextricably intertwined”

doctrine as a basis for admitting evidence of other crimes, the Court has also held, at the same time,

that “[a]lmost all evidence admissible under the ‘inextricably interwoven’ doctrine is admissible

under one of the specific exceptions in Rule 404(b), or under the judge-made ‘no confusion’

exception . . . .” Taylor, 522 F.3d at 735; Canady, 578 F.3d at 672 (“almost all evidence that is

admissible under this doctrine would fall within one of the exceptions in Rule 404(b), and this case

is no different”). To be sure, rather than invoke a non-Rule based doctrine, applying Rule 404(b)

has the virtue of focusing the analysis on non-propensity purposes and avoids the vice of the jury

considering the other-crimes evidence without a proper limiting instruction. Conner, 583 F.3d at

1024. But evidence that would have been formerly admissible under the “inextricably intertwined”

doctrine will almost always serve a non-propensity purpose and be admissible under Rule 404(b).

That is the case here.

               2.        Argument

       In addition to serving as direct evidence of the charged offenses, evidence that JIN

misrepresented the amount of money she carried is also admissible under Rule 404(b). Regarding

the first prong of the 404(b) analysis, the evidence of JIN’s misrepresentation that she was carrying

only $11,000, when in fact she was carrying over $30,000 in cash is not being presented to show that


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JIN has a propensity to commit crimes. Rather, this fact is evidence of JIN’s knowledge of and

intent to commit the charged offenses – her successful possession of the trade secret documents for

transportation to China where they could be used to the her benefit, the benefit of her proposed new

employer Sun Kaisens, and the PRC. JIN did not declare the full amount of cash she had in her

possession because, if she had, she believed that the CBP officers would have been more likely to

subject her and her carry-on items to additional screening and search, and, therefore, they would

have discovered the documents she carried. Evidence of these misrepresentations shows JIN’s

knowledge of her commission of the charged offenses. The misrepresentations show that JIN knew

she was carrying confidential proprietary documents belonging to Company A that she was not

authorized to be transporting to China and that she did not want CBP to find the documents.

Moreover, the misrepresentations are evidence of JIN’s intent to commit the charged offenses. More

specifically, JIN needed to successfully transport the proprietary documents she knew she had to

China in order for her, Sun Kaisens and the PRC to benefit from her possession of the documents.

As a result, she understated the amount of cash she had to the CBP agent in an attempt to reduce the

likelihood they would subject her and her luggage to additional screening.

       Regarding the second prong of the test, JIN’s misrepresentation is not only close in time to

the charged conduct, it is at the exact same time as the charged possession. Moreover, there is

sufficient evidence to support that the conduct occurred. At trial, the government will present

testimony from the CBP agents who conducted the border patrol stop of JIN and who reviewed the

paperwork associated with her travel. In addition, the government will present the two customs

forms she completed and signed in which the misrepresentation was made. Lastly, the probative

value of this evidence is not substantially outweighed by the potential prejudice.              The


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misrepresentation is an act of an entirely different kind than the charged conduct. Therefore, it is

unlikely it will not leave the jury with the impression that JIN was more likely to have committed

the charged conduct. In fact, most jurors are unlikely to consider JIN’s misrepresentation as a

serious violation of a criminal nature, therefore, the risk of potential prejudice is minimal.5

V.     MOTION TO ADMIT EVIDENCE OF MATCHING COMPANY A AND SUN
       KAISENS DIAGRAMS

       A.      The Matching Diagrams

       As explained above, at the time JIN was stopped at O’Hare on February 28, 2007, she was

carrying a large volume of documents from Company A and Sun Kaisens, in electronic and hard

copy format. Among the Company A documents stored on JIN’s Ion external hard drive, was A

document titled in part: “[Company A] . . . Product Description Version 0.8f” and dated Tuesday,

June 22, 2004 [the “diagram document”]. Although not one of the charged trade secret documents,

the diagram document is identified on its cover as containing Company A confidential and

proprietary information. Notably this document was saved multiple times on JIN’s Ion hard drive.

On the top half of page17 of the diagram document is a detailed diagram of a Company A product.

To the immediate right of the diagram is a detailed description of the various components depicted

in the diagram. Within the description of the components, Company A is mentioned two times in

connection with two different component parts.

       The same diagram and its related description, absent the references to Company A, is



       5
          While this evidence is not unduly prejudicial the Court could further reduce any
potential for prejudice by instructing the jury on the limited use of the evidence. See United
States v. Vasquez, 635 F.3d 889, 894 (7th Cir. 2011) (“limiting instructions are effective in
reducing or minimizing any possible unfair prejudice from the introduction of Rule 404(b)
evidence.”)(internal quotations omitted).

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depicted in in two different Sun Kaisens documents which were also found in JIN’s possession as

she was attempting to board her plane for China on February 28, 2007.

        B.      Evidence of the Matching Diagrams is Probative of Jin’s Knowledge Of and
                Intent to Benefit Herself, Sun Kaisens and the Chinese Government.

        As explained above, Federal Rule of Evidence 401 provides that relevant evidence is

evidence having any tendency to make the existence of any fact that is of consequence to the

determination of the action more probable or less probable than it would be without the evidence.

        Here, evidence of the matching diagrams between specific Company A and Sun Kaisens

documents is relevant to show that JIN possessed the charged trade secret with the intent to convert

the trade secrets to the benefit of someone other than the owner of the trade secrets - namely, herself,

Sun Kaisens and the Chinese government. More specifically, it shows that Sun Kaisens was

interested in Company A information and had used and benefitted from Company A information on

at least one occasion in the past. This same evidence is also probative to show that JIN intended

or knew that the taking Company A trade secrets would injure Company A. In other words, this

evidence shows that the taking of Company A documents related to more than just refreshing JIN’s

recollection, as she told law enforcement. Instead, this evidence makes is more likely that the stolen

information was to be used by Sun Kaisens as part of its telecommunications business. Lastly,

given the significant overlap between Sun Kaisens and the Chinese military, this evidence also

demonstrates that JIN knew that the stolen Company A trade secrets were to be used for the benefit

of Sun Kaisens’ primary customer - the Chinese government.

        C.    Alternatively, Evidence of the Matching Diagrams Is Admissible Under 404(b).

        Alternatively, the same evidence of the matching diagrams is also admissible under Federal

Rule of Evidence 404(b) which permits evidence of other crimes, wrongs, or acts to be admitted to

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establish proof of motive, opportunity, intent, preparation, plan, knowledge, identity, or absence of

mistake or accident. See FRE 404(b); United States v. Ross, 510 F.3d 702, 713 (7th Cir. 2007).

Here, the evidence meets the four-part test for Rule 404(b) evidence described above.

       First, the evidence relates to a matter other than propensity. Instead, in this instance, the

evidence of the matching diagrams is probative of JIN’s intent, knowledge, motive and absence of

mistake related to the charged offenses. First, the matching diagrams demonstrate JIN’s knowledge

that Sun Kaisens was interested in using Company A technology and JIN’s intent to convert the

trade secrets to the benefit of herself, Sun Kaisens and the Chinese government. More specifically,

the matching diagrams show that JIN was aware on February 28, 2007 that Sun Kaisens sought to

benefit from Company A information. This evidence also directly refutes any mistake-type

argument by JIN. For instance, the proffered evidence helps to contradict JIN’s statements to law

enforcement that she was merely taking the information to refresh her own knowledge and that she

had no intent to harm Company A. Instead, this evidence shows that consistent with her wholesale

taking of Company A information, JIN acted with a specific purpose- namely, to benefit herself, Sun

Kaisens and the Chinese government.

       Moreover, the evidence is also probative of JIN’s motive to commit the crime of stealing

trade secrets. As explained above, JIN had been negotiating employment with Sun Kaisens for

months and expected to be offered a job when JIN returned to China in February 2007. As the

proffered evidence shows, JIN also knew that Sun Kaisens was interested in Company A

information and technology and wanted to better her employment prospects and negotiating position

with Sun Kaisens. For instance, in one of the emails between JIN and Chief Qi in September 2006

related to her future employment , Chief Qi tells JIN: “You should share with us the fruit of our


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collective effort.” Accordingly, in addition to lining up employment with Sun Kaisens (which the

evidence shows JIN vigorously sought), JIN also had a potential financial interest in helping Sun

Kaisens prosper.

       Regarding the second prong of the test related to temporal proximity , the documents with

the matching diagrams were in JIN’s possession on February 28, 2007 - the same day as the charged

possession of the three trade secret documents.         Moreover, there is sufficient evidence to

demonstrate JIN’s possession of the relevant Company A and Sun Kaisens documents. Similar to

the charged trade secret documents, the government will show that both the Company A diagram

document and the Sun Kaisens documents containing the matching diagramwere recovered from

electronic media recovered from JIN at the airport.

       Lastly, the probative value of this evidence is not substantially outweighed by the potential

prejudice. The probative value is significant and any potential prejudice minimal. First, the

matching diagrams goes directly to explain JIN’s fraudulent return to Company A and why she

would steal hundreds of documents from Company A.                Namely, this diagram if further

circumstantial proof that JIN stole the trade secrets for the benefit of Sun Kaisens because Sun

Kaisens was using Company A technology without Company A’s authorization. The potential

prejudice of this evidence is minimal. More specifically, the government’s evidence, including

JIN’s own statements and the circumstances of her day and a half return to Company A from a year

sick leave will point to the same conclusion - that JIN stole the trade secret to convert them to the

benefit of someone other than Company A. The matching diagrams is just one more piece of

evidence that points to this very same conclusion. The jury will hear also hear substantial evidence

(including JIN’s own statements to law enforcement) that JIN was working on Chinese miliary


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telecommunications projects at Sun Kaisens while on sick leave from Company A. Moreover, the

government’s evidence. The fact that JIN’s projects overlapped can be no more prejudicial than any

other evidence showing connections between JIN and Sun Kaisens, which she was on sick leave

from Company A         Accordingly, the evidence of the matching diagrams should be admitted for

trial.

VI.      MOTION TO EXCLUDE CERTAIN EVIDENCE FROM TRIAL

         A.     Evidence for which a Pre-trial Ruling of Exclusion is Sought

         During discovery in this case, defendant was provided with information related to the

misappropriation of proprietary information from Company A by other Company A employees.

Evidence related to specific instances of theft or improper access to Company A’s proprietary

information by other employees should be excluded as irrelevant to the issues in this case.

Specifically, during discovery in this case, defendant was provided information regarding the

misconduct of several former Company A employees related to the misappropriation of Company

A’s confidential proprietary information.

         More specifically, between late 2005 and early 2007, two Company A employees, Individual

A and Individual B, who were employed by Company A in senior staff engineering positions,

improperly accessed and distributed Company A’s confidential proprietary information to Individual

C, who served as the Chief Technology officer for a competitive telecommunications company,

Company C. At the time, Individual B and Individual C were married. In addition, during 2007,

another Company A employee, Individual D, who at times, was in contact with defendant, loaded

Company C’s source-code onto a Company A computer in violation of Company A’s policies. In

July 2008, after being confronted with her misconduct, Individual D attempted to misappropriate


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various Company A confidential proprietary documents.

       In addition to the above information, defendant has sought documentation from Company

A related to the number of Company A employees found to have violated Company A’s information

security policies. For the reasons outlined below, any evidence related to specific instances of

misconduct or statistics related to misconduct committed by other Company A employees should

be excluded because it lacks sufficient probative value.

        Lastly, during discovery, defendant has also received information about how Company A’s

security measures have evolved over time. To the extent that defendant intends to introduce any

evidence of changes or enhancements made to Company A’s security procedures subsequent to the

charged conduct, this evidence is irrelevant to the issues at trial.

       B.      Applicable Law

       Federal Rule of Evidence 402 provides evidence which is not relevant is not admissible.

Federal Rule of Evidence 403 provides that otherwise relevant evidence may be excluded if its

probative value is substantially outweighed by the danger of unfair prejudice, confusion of the

issues, misleading the jury, or by considerations of undue delay, waste of time, or needless

presentation of cumulative evidence. The district court has broad discretion in evidentiary matters

to determine what evidence is relevant and when relevant evidence should be excluded because of

the considerations enumerated in Rule 403. United States v. Harris, 542 F.2d 1283, 1317 (7th

Cir.1976). Evidence, even if regarded as remotely relevant, is properly excluded under Rule 403

if its probative value is substantially outweighed by its tendency to cause confusion or undue delay

and waste of time at the trial. United States v. Payne, 635 F.2d 643, 647 (7th Cir. 1980)




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       C.       Argument

       Evidence of specific instances of misconduct by other Company A employees will have little

to no probative value relative to the issues in this case. The government acknowledges that, in order

to sustain the charges, the government must prove that Company A maintained “reasonable security

measures” to protect the trade secret documents at issue at the time in question. However, the

government need not prove that the security measures were 100% effective, only that they were

reasonable. 18 U.S.C. § 1839. Reasonable measures have been held to include advising employees

of the existence of a trade secret, limiting access to proprietary information on a need to know basis,

and controlling physical access. United States v. Chung, 2011 WL 4436271 *8 (9th Cir. Sept. 26,

2011) (internal quotations omitted); See also United States v. Lange, 312 F.3d 263, 266 (7th Cir.

2003) (finding that reasonable measures included storing the documents in a locked room with

motion detectors, limiting access to codes used in the documents, and labeling the documents with

warnings). The fact that other individuals, at times, either ignored or circumvented security

measures does not mean the measures were insufficient to be considered reasonable. See Computer

Associates Intern. v. Quest Software, Inc., 333 F.Supp.2d 688, 696 (N.D. Ill. 2004) (in a case

involving the Illinois Trade Secrets Act where defendant pointed out weaknesses in plaintiff’s

confidentiality practices, the court noted that the statute “requires only reasonable measures, not

perfection”).

       Evidence of the specific misconduct of the individuals outlined above should not be

admitted. Although evidence of the misconduct committed by other Company A employees might

illustrate weaknesses in Company A’s security measures, as outlined above the relevant inquiry is

not about the effectiveness of the measures, rather, the inquiry focuses on the nature and scope of


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the security measures that were in place at the time of the charged conduct. See e.g., Tax Track

Systems Corp. v. New Investor World, Inc., 478 F.3d 783, 787 (7th Cir. 2007) (“Courts evaluate this

question on a case-by-case basis, considering the efforts taken and the costs, benefits, and

practicalities of the circumstances.”); Matter of Innovative Const. Systems, Inc., 793 F.2d 875, 884

-885 (7th Cir.1986) (noting the inquiry is a “common sense judgment” and includes an “assessment

of the size and nature of [the victim company’s] business, the cost to it of additional measures, and

the degree to which such measures would decrease the risk of disclosure.”).

       Moreover, any evidence of such specific instances of misconduct or evidence regarding the

number of employees who have committed such infractions is likely to lead to a confusion of the

issues and be a waste of time for the jury. Admission of this kind of evidence is likely to subject

Company A to a wholly unnecessary “mini-trial” on its security procedures which will risk

constitute a waste of time.

       Lastly, any evidence or argument by defendant regarding any changes or enhancements made

to Company A’s security procedures after the charged conduct should be excluded as because the

relevant inquiry focuses on the measures in place at the time of the offense conduct. Compare Fed.

Rule of Evid. 407 (When measures are taken that would have made an earlier injury or harm less

likely to occur, evidence of the subsequent measures is not admissible to prove negligence).

VII.   CONCLUSION

       For the reasons outlined above, the government requests the Court issue a pre-trial ruling

finding: (1) evidence of the transfer of money to China to show JIN’s consciousness of guilt; (2)

evidence of JIN’s misrepresentation to CBP regarding the currency she carried is admissible as

evidence of knowledge, preparation and intent pursuant to Rule 404(b); and (3) evidence of


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misconduct by other Company A employees related to the protection of Company A’s trade secrets

is inadmissible because it represents insufficient probable value and could result in confusion of the

issue and constitute a waste of time.

Dated: October 3, 2011

                                                         Respectfully submitted,
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